Case 0:17-cv-62255-MGC Document 92-5 Entered on FLSD Docket 12/20/2019 Page 1 of 3




                             EXHIBIT E
Case 0:17-cv-62255-MGC Document 92-5 Entered on FLSD Docket 12/20/2019 Page 2 of 3




                               UNITED STATES OF AMERICA
                                         Before the
                          SECURITIES AND EXCHANGE COMMISSION
                                   Washington, D.C. 20549

   ADMINISTRATIVE PROCEEDINGS RULINGS
   Release No. 4409/December 2, 2016

   ADMINISTRATIVE PROCEEDING
   File No. 3-16649

                                                     ORDER GRANTING IN PART
   In the Matter of                                  MOTIONS IN LIMINE REGARDING
                                                     THE EXPERT REPORTS OF
   IRONRIDGE GLOBAL PARTNERS, LLC,                   ROBERT LOWRY AND JAMES
   IRONRIDGE GLOBAL IV, LTD.                         BURNS


           The Securities and Exchange Commission issued an order instituting proceedings (OIP)
   in this matter on June 23, 2015. A hearing is currently scheduled for February 21, 2017, in
   Washington, D.C.

          The Division of Enforcement has moved to strike legal opinions from the report of James
   Burns (Burns Report), Respondents’ expert, and to preclude such opinions from further
   testimony (Burns Motion). Respondents filed an opposition (Burns Opp’n). Respondents moved
   to exclude the report of Robert Lowry (Lowry Report), the Division’s expert, as well as his
   testimony (Lowry Motion). The Division filed an opposition (Lowry Opp’n).

           Except for one detail, Burns’ expert report is in substance a legal opinion. Although he
   provides insight into industry practice and the understanding of securities market participants, I
   do not expect such insights to be helpful in resolving the disputed issues in this proceeding. See
   Burns Opp’n at 10-11. The exception is a “Deals Analysis” (Burns Report, Ex. A) provided by
   Brendan O’Neil, who is listed as a prospective witness. I will allow examination of O’Neil on
   the topic of his analysis, as well as any other appropriate topics. However, I do not intend to
   otherwise rely on Burns’ expert report or testimony; Respondents will not be permitted to call
   him as a witness; and the Division will not be permitted to cross-examine him.

            The Burns Motion is therefore GRANTED IN PART, in that Burns will not be permitted
   to testify at the hearing. This will not unduly prejudice Respondents, because all of Burns’ legal
   points may be argued by Respondents’ counsel in post-hearing briefing. The Burns Motion is
   otherwise denied. There is no need to strike hearing evidence that is already in the case record
   and that I intend to disregard anyway.

           As for Lowry, Respondents argue that his expert report “is at least as much a legal one
   as” Burns’. Lowry Mot. at 1. The Division, by contrast, argues that Lowry’s report “contains no
   legal opinions on the ultimate issues.” Lowry Opp’n at 2. Neither side is wholly correct.
Case 0:17-cv-62255-MGC Document 92-5 Entered on FLSD Docket 12/20/2019 Page 3 of 3




           Lowry opines that Respondents sold “large volumes of shares . . . on a regular basis as
   part of a business,” and describes at length “some of the well-known guidance regarding
   dealers.” Lowry Report at 5, 27-29. A substantial portion of his report discusses how
   “Respondents’ activities were consistent with those of a dealer” in light of the legal guidance he
   summarizes. Lowry Report at 29-36. Another substantial portion of his report discusses the
   regulation of dealers, principally by FINRA, and how Respondents’ activities were inconsistent
   with FINRA rules. See Lowry Report at 36-40.

           Much of this is unhelpful legal opinion. It is difficult to parse the helpful from the
   unhelpful, however, because many of Lowry’s subsidiary points are mixed in with his ultimate
   conclusions. For instance, according to Lowry’s analysis, Respondents charged a total of
   approximately $1.6 million in brokerage fees to issuers by accepting share price discounts; this is
   helpful factual analysis. See Lowry Report at 33. Citing this, he concludes that “Respondents
   were acting consistently with a dealer by passing their brokerage fees onto the issuer”; this is
   unhelpful legal analysis. Id.

           Given this intertwining, it is difficult to identify with precision exactly what portions of
   Lowry’s report should be disregarded. Roughly speaking, there are four categories of Lowry’s
   opinion on which I definitely do not intend to rely: (1) statements that “Respondents were acting
   consistently with a dealer,” or words to that effect; (2) recitations of the law; (3) the final section,
   pertaining to regulation of dealers; and (4) as with Burns, evidence of industry practice and the
   understanding of securities market participants. That said, as to the third category, I do not now
   hold that FINRA regulations are irrelevant or inadmissible – that will be the subject of a
   forthcoming ruling on one of Respondents’ other motions in limine – but only that Lowry’s
   opinion about FINRA regulations and their applicability is unhelpful and will be disregarded.

           Other portions of Lowry’s report are helpful. As the Division correctly notes, much of
   his report is devoted to financial analysis and summary exhibits. See Lowry Opp’n at 4; Lowry
   Report at 8-20 & Exs. 1-16. Although such evidence may more clearly qualify as summary
   evidence than expert evidence, it is helpful and plainly admissible. The parties should therefore
   expect to examine Lowry on his financial analysis and summary exhibits. As to the remainder of
   Lowry’s opinion, I will consider the admissibility of his expert evidence on a question-by-
   question basis.

          The Lowry Motion is therefore GRANTED IN PART, in that the four categories of
   Lowry’s opinion described above will be disregarded, and examination on those subjects will not
   be permitted. The Lowry Motion is otherwise denied.

          SO ORDERED.

                                                  _______________________________
                                                  Cameron Elliot
                                                  Administrative Law Judge




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